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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


     ELMER WILLIAMS,

                 Plaintiff,

     v.                                       Case No. 3:22-cv-1221-MMH-MCR

     RICKY DIXON, in his official
     capacity as Secretary of the Florida
     Department of Corrections, et al.,

                 Defendants.
                                        /

                                       ORDER

           THIS CAUSE is before the Court on the Joint Motion to Extend Case

     Management Deadlines (Dkt. No. 105; Motion) filed on December 12, 2023. In

     the Motion, the parties seek an extension of the case management deadlines in

     this matter. See Motion at 1. Upon review, the Court finds that the parties

     have shown good cause for an extension of time. Accordingly, it is

           ORDERED:

           1.    The Joint Motion to Extend Case Management Deadlines (Dkt. No.

                 105) is GRANTED.
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           2.    The case management deadlines are extended as follows:

      Deadline for disclosing expert reports.

                                                 Plaintiff:          MAY 24, 2024
                                                Defendant:          JUNE 28, 2024
                                                 Rebuttal:          JULY 19, 2024
      Deadline for completing discovery and filing               AUGUST 20, 2024
      motions to compel.
      Mediation deadline.                                        AUGUST 20, 2024
      Deadline for filing dispositive and Daubert             SEPTEMBER 20, 2024
      motions (responses due 21 days after service).
      Deadline for filing all other motions including           JANUARY 27, 2025
      motions in limine.
      Deadline for filing the joint final pretrial             FEBRUARY 10, 2025
      statement.
      Date and time of the final pretrial conference.          FEBRUARY 18, 2025
                                                                      10:00 A.M.
      Trial Term Begins                                           MARCH 3, 2025
                                                                       9:00 A.M.
      Estimated Length of Trial                                          7 DAYS
      Jury/Non-Jury                                                        JURY



           DONE AND ORDERED in Jacksonville, Florida this 14th day of

     December, 2023.




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     Copies to:

     Counsel of Record




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